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 3                            IN THE UNITED STATES DISTRICT COURT

 4                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 5

 6   UNITED STATES OF AMERICA,                           Cr.S-08-0543 GEB

 7             vs.

 8                                                       ORDER

 9   ZHEN SHU PANG,                                      Judge: Hon. Gregory G. Hollows

10                                        /

11                   On January 16, 2009, the undersigned advised defendant Zhen Shu Pang of the

12   special conditions of release including the requirement of submitting to DNA testing as directed

13   by the United States Attorney’s Office. This condition was stayed pending a ruling on the same

14   issue in the case of United States v. Jerry Albert Pool, 09-015 EJG. On May 27, 2009, the

15   undersigned ordered that DNA sampling was appropriate and that the defendant in Pool submit

16   to DNA testing. That order was appealed to the District Court and on July 16, 2009, the

17   Honorable Edward J. Garcia affirmed the undersigned’s order. That order is currently pending

18   appeal before the Ninth Circuit Court of Appeals.

19                   Accordingly, IT IS HEREBY ORDERED that the stay is lifted and defendant

20   Zhen Shu Pang is ordered to submit to DNA testing as directed by the United States Attorney’s

21   Office.

22   DATED: August 11, 2009
                                                          /s/ Gregory G. Hollows
23
                                                         GREGORY G. HOLLOWS
24                                                       UNITED STATES MAGISTRATE JUDGE

25   ggh: ab
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